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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 AIR CANADA AND AEROPLAN INC.,

                           Plaintiffs,                          C.A. No. 23-1177-GBW

                   v.


 LOCALHOST LLC,

                           Defendant.


                        [PROPOSED] PRELIMINARY INJUNCTION ORDER

         WHEREAS, the Court having considered the parties’ submissions and evidence; and

         WHEREAS, Plaintiffs Air Canada and Aeroplan Inc. (collectively, “Air Canada Group” or

“Plaintiffs”) having established: (1) a likelihood of success on the merits of their breach-of-

contract claim from Defendant Localhost LLC’s data scraping; (2) that Plaintiffs will suffer

irreparable harm if the injunction is denied; (3) that granting preliminary relief will not result in

even greater harm to Defendant; and (4) that the public interest favors such relief (see Kos Pharms.,

Inc. v. Andrx Corp., 369 F.3d 700, 708 (3d Cir. 2004);

         IT IS HEREBY ORDERED that:

    1. Plaintiffs’ Motion for a Preliminary Injunction is GRANTED.

    2. Defendant, its officers, agents, servants, employees and all persons acting in active

         concerned and participation with them who receive actual notice of this Order are

         preliminarily enjoined and restrained from:

             a. Violating the Terms of Use of Air Canada Group’s Aeroplan website and/or

                  mobile app, including by:




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                   i. using automated scripts, robots, crawls, screen scrapers, and/or web bots,

                      to data mine, screen scrape, data scrape, data process, access, extract,

                      copy, distribute, aggregate or acquire information from the Aeroplan

                      website and/or mobile app;

                  ii. using, displaying, advertising, offering for sale, and/or selling data scraped

                      from the Aeroplan website and/or mobile app for any commercial use or

                      purpose;

                  iii. creating any derivative works from or otherwise copying, licensing,

                      displaying, publishing, performing, recreating , reproducing, selling,

                      transferring, transmitting, or otherwise distributing, modifying, editing,

                      adding to, mirroring, framing, re-rendering, truncating, injecting, or

                      changing of the order of any information, products, goods, services, and/or

                      software contained or offered on, or obtainable by, through, or from the

                      Aeroplan website and/or mobile app;

                  iv. accessing or using the Aeroplan website and/or mobile app in any way that

                      burdens the website and/or mobile app to an unreasonable and

                      disproportionate extent, that reduces the speed of the website and/or

                      mobile app, that otherwise interferes with the normal functioning of the

                      website and/or mobile app, and/or otherwise abuses or overuses the

                      website and/or mobile app; and/or

                  v. circumventing or attempting to circumvent any measures or precautions

                      taken by the Air Canada Group to prevent the use or access of the

                      Aeroplan website and/or Mobile app.




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Date: ____________________________

                                     __________________________________________
                                     UNITED STATES DISTRICT JUDGE




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